  [NOT FOR PUBLICATION--NOT TO BE CITED AS PRECEDENT]
             United States Court of Appeals
                 For the First Circuit

No. 97-2431

                      UNITED STATES,

                        Appellee,

                            v.

          JORGE DESOUSA, a/k/a Mitchell George,

                  Defendant, Appellant.

       APPEAL FROM THE UNITED STATES DISTRICT COURT

            FOR THE DISTRICT OF MASSACHUSETTS

     [Hon. Douglas P. Woodlock, U.S. District Judge]

                          Before

                  Torruella, Chief Judge,
           Selya and Boudin, Circuit Judges.

 John P. Crowley III and Hobbins, Gardner, Gardner &amp;amp; Murphy,
LLC on brief for appellant.

July 31, 1998

                                           Per Curiam.  Upon careful review of the appellant's
brief, we conclude that this appeal presents no substantial
issue and is appropriate for summary disposition.  See 1st Cir.
Loc. R. 27.1.  Accordingly, we sever this appeal (No. 97-2431)
from the other appeals (Nos. 97-2193, 97-2312, 97-2363, and 97-
2432) with which it previously was consolidated.
          We reject appellant's contention that the district
court erred in applying the enhancement under U.S.S.G. 
2D1.1(b)(1) for possession of a dangerous weapon during a drug
offense.  Appellant and his co-conspirator were involved in
distributing substantial quantities of cocaine; appellant
admittedly knew that his co-conspirator possessed a gun; and
the gun was found in appellant's condominium, along with drugs,
cash, and ammunition.  On those facts, the district court did
not clearly err in applying the enhancement to appellant's
sentence.  See United States v. Bianco, 922 F.2d, 910, 912 (1st
Cir. 1991). 
          Affirmed.
